Case 2:05-cr-20197-.]DB Document 16 Filed 08/01/05 Page 1 of 2 Page|D 19
lN THE UN|TED STATES D|STFI|CT COURT `*;'*L;E"“" "

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UN|TED STATES OF AN|ER|CA,
Plaintiff,

VS.
CH. NO. 05-20197-B

AUST|N G. GUYEFI,

Defendant.

 

ORDEFt ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

report date of Monday, August 29, 2005l at 9:30 a.m., in Courtroom 1, 11th F|oor of the

Federa| Building, Memphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a spe dy tria|.

    

IT |S SO ORDEHED this [ day 0

 

 

UNIEL BREEN \
Eo sTATEs DisTRicT JUDGE

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UNITED sTATE DISIC COUR - WESTERN D'S'TRCT oFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20197 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

